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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 CAYMAN SECURITIES CLEARING
 AND TRADING LTD; THE HURRY
 FAMILY REVOCABLE TRUST;
 SCOTTSDALE CAPITAL ADVISORS
 CORPORATION; and ALPINE SECURITIES
 CORPORATION,

      Plaintiffs,

 v.                                            Case No. 8:18-cv-02869-VMC-CPT

 CHRISTOPHER FRANKEL,

      Defendant.
                                         /




                           EXHIBIT B

             Plaintiffs’ First Request for
              Production to Defendant
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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

 CAYMAN SECURITIES CLEARING
 AND TRADING LTD; THE HURRY
 FAMILY REVOCABLE TRUST;
 SCOTTSDALE CAPITAL ADVISORS
 CORPORATION; and ALPINE SECURITIES
 CORPORATION,
                                                      CASE NO.: 8:18-cv-02869-VMC-CPT
         Plaintiffs/Counter-Defendants,

 vs.

 CHRISTOPHER FRANKEL,

       Defendant/Counter-Plaintiff.
 ____________________________________/


                 PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO

                                           DEFENDANT

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, plaintiffs Cayman

 Securities Clearing and Trading LTD, The Hurry Family Revocable Trust, Scottsdale Capital

 Advisors Corporation, and Alpine Securities Corporation, by their undersigned counsel, hereby

 requests that defendant Christopher Frankel produce documents in response to the following

 document requests, within thirty days, in accordance with the following definitions and

 instructions.

                                          DEFINITIONS

         1.      “Alpine” shall mean Alpine Securities Corporation and all of its employees, agents,

 officers, members, representatives, attorneys and/or any other person who has acted or purported

 to act for or on its behalf.




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           2.    “Plaintiffs” shall mean plaintiffs Cayman Securities Clearing and Trading LTD,

 The Hurry Family Revocable Trust, Scottsdale Capital Advisors Corporation, and Alpine

 Securities Corporation and each of them and all of their employees, officer, members, agents,

 representatives, attorneys and/or any other person who has acted or purported to act for or on their

 behalf.

           3.    “You” and “Your” shall mean defendant Christopher Frankel and all of his

 employees, agents, representatives, attorneys and/or any other person who has acted or purported

 to act for or on his behalf.

           4.    “Documents” shall mean, in the broadest sense permissible under Fed. R. Civ. P.

 34, and include, without limitation, any “writing” as that term is defined in Rule 1001 of the

 Federal Rules of Evidence, and any original and non-identical copy of any and all written, typed,

 computer, mechanical, photographic, printed, magnetic, audio, video and other electronic

 recordings or records and/or other tangible records and forms of recorded information, however

 produced or reproduced, including but not limited to: all letters, correspondence, interoffice

 communications, electronic correspondence such as “e-mail,” text message, SMS message,

 iMessage, Skype, “instant” messenger services, and other communications recorded in any form

 or medium; records, memoranda, minutes, notes, answers, applications, appointment calendars,

 attachments, blueprints, books, budget materials, bulletins, cables, CD ROMS, complaints,

 computer models, computer tapes, computer programs, data processing cards, diagrams,

 evaluations, guidebooks, hearing transcripts, indices, instructions, invoices, manuals, messages,

 microfiche, motions, notices, opinions, pamphlets, papers, phone-mail recordings or transcripts

 thereof, phone records, photographs, pleadings, printed forms, proposals, protests publications,

 replies, responses, specifications, submissions, telegraphs, telexes, verified statements, telegrams,



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 summaries, computer printouts or disks or any information retained in a computer database which

 can be reproduced; records of telephone calls and meetings, calendar and diary entries, notebooks,

 schedules, reports, studies, appraisals, analyses, lists, surveys, deeds; budgets, financial

 statements, ledgers, returns, financial projections, comparison between budgets, projections and

 actual results, working papers, financial calculations and other records of financial matters and

 commercial transactions; contracts, agreements, legal and accounting opinions, research;

 periodicals, charts, diagrams, graphs, and other drawings; interviews, speeches, transcripts, press

 releases, advertisements, brochures and books of account; plans and specifications; publications;

 photocopies, microfilm, and other copies or reproduction, and computer printouts; and all drafts,

 outlines and proposals of any such documents (whether or not actually used). All non-identical

 copies (whether different from the original by reason of notations made on such copies or

 otherwise) are separate documents within the meaning of the term. The term also includes

 information, stored in, or accessible through, computer or other information retrieval systems,

 together with instructions and all materials necessary to retrieve, use or interpret such data.

                                          INSTRUCTIONS

        1.      In the event that any information, document or portion of any document within the

 scope of these document requests is withheld from production upon a claim of privilege or work

 product, with respect to each document You are required to provide a privilege log in conformity

 with Rule 26(b)(5) of the Federal Rules of Civil Procedure. To the extent only a portion of the

 document is claimed to be privileged, produce the non-privileged portions of the document and

 provide the requested information for the redacted portion of the document.

        2.      In the event that any document called for by these document requests has been

 destroyed, lost, discarded, or otherwise disposed of, any such document is to be identified as

 completely as possible, including, without limitation, the following information: date of disposal;


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 manner of disposal; reason for disposal; person authorizing the disposal; and person disposing of

 this document.

        3.        Each paragraph herein shall be construed independently and not with reference to

 any other paragraph for the purpose of limitation.

        4.        The use of a verb in any tense shall be construed as the use of the verb in all other

 tenses, as necessary, to bring within the scope of these requests all documents which might

 otherwise be considered to be beyond their scope.

        5.        The use of capital letters, lower case letters or quotation marks in these requests

 shall not be construed to limit the scope of any specific request contained herein.

        6.        The documents produced in response to these requests shall be produced as they

 are kept in the ordinary course of business and shall be organized so that Plaintiff can ascertain the

 files in which they were located, their relative order in such files and how such files were

 maintained.

        7.        Any document that is attached by staple, clip or otherwise to a document requested

 herein shall also be produced (attached in the same manner as the original) regardless of whether

 the production of that document is otherwise requested herein.

        8.        These requests are continuing in nature and You are obligated to produce additional

 documents or information whenever they are acquired, discovered or come into existence after the

 date of the initial production.

        9.        Each of these requests seeks all documents, wherever located, which are in Your

 actual or constructive possession, custody or control.

                                             REQUESTS

        1.        All Documents and Communications You sent to Your personal email addresses

 from Your Alpine email address from June 1, 2015 through September 30, 2018.

        2.        All Documents and Communications containing Plaintiffs’ business practices,

 financial relationships and terms of those relationships, client lists, pricing information, and



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 private financial information of Plaintiffs and their clients that You sent from Your personal

 email addresses to yourself or anyone else since June 1, 2015.

         3.     All Documents and Communications between You and Plaintiffs’ current or

 former clients since August 1, 2018.

         4.     All Documents and Communications between You and financial institutions that

 currently have or previously had relationships with Plaintiffs since August 1, 2018.

         5.     All Documents and Communications between You and Steve Mashawar since

 August 1, 2018.

         6.     All Documents and Communications between You and Carlos Montoya since

 August 1, 2018.

         7.     All Documents and Communications between You and Jim Kelly since August 1,

 2018.

         8.     All Documents and Communications between You and Austin Trust Company or

 its employees, officers, members, or representatives, since August 1, 2018.

         9.     All Documents and Communications that pertain to Your attempts, inquiries,

 preparations, or desire to purchase any broker-dealer since August 1, 2018.

         10.    All Documents and Communications between You and any broker-dealers that

 You have considered purchasing since August 1, 2018.

         11.    All Documents and Communications between You and Ziv Investment Company

 since August 1, 2018.

         12.    All Documents created by Plaintiffs that You have in Your possession, custody,

 or control.

         13.    All Documents that contain information received from Plaintiffs that You have in

 Your possession, custody, or control.

         14.    All Documents that contain information about Plaintiffs that You have in Your

 possession, custody, or control

         15.    All Documents and Communications identified in Your initial disclosures.

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 Dated: January 15, 2019
                                    Respectfully submitted,


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